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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

MELVIN ANDERSON                                  §

VS.                                              §      CIVIL ACTION NO.         1:21-cv-328

WARDEN, USP BEAUMONT                             §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Petitioner Melvin Anderson, a federal prisoner confined at the United States Penitentiary in

Beaumont, Texas, proceeding pro se, filed this Petition for Writ of Habeas Corpus pursuant to 28

U.S.C. § 2241.

       The court referred this matter to the Honorable Christine L. Stetson, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge recommends granting Petitioner’s Motion to Dismiss (Doc. #7) and dismissing

the petition without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1).

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the Report and Recommendation of United States Magistrate Judge (Doc. #9) is ADOPTED.
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Petitioner’s Motion to Dismiss (Doc. #7) is GRANTED. A final judgment will be entered in this

case in accordance with the magistrate judge’s recommendation.


     SIGNED this the 20 day of October, 2021.




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                                  Thad Heartfield
                                  United States District Judge




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